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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK




 MEDISIM, LTD.,                                    )
                                                   )
                               Plaintiff,          )
                                                   )
          v.                                       )
                                                   )      10-CV-2463(SAS)
                                                   )
 BESTMED LLC,                                      )
                                                   )
                               Defendant.          )
                                                   )


                    MEDISIM’S OBJECTIONS TO BESTMED, LLC’S
                           PROPOSED VERDICT FORM

        Plaintiff, Medisim Ltd., respectfully submits the following objections to Defendant

BestMed LLC’s proposed verdict form:

        Medisim believes that the Court should adopt its proposed verdict form. Medisim objects

to BestMed’s proposed verdict form as it is contains superfluous language and is likely to

confuse the jury. Cf. Frederic P. Wiedersum Assocs. v. Nat'l Homes Constr. Corp., 540 F.2d 62,

66 (2d Cir. 1976). For example, question 12 of BestMed’s proposed verdict form states: “If you

find that Medisim is entitled to damages because BestMed has engaged in unfair competition

under New York law (‘Yes’ to question 9), what amount of damages do you award to

Medisim?.” However, question 9 of BestMed’s proposed verdict form concerns the written

description requirement. Similarly, question 15 of BestMed’s proposed verdict form states: “If

you find that BestMed has been unjustly enriched (‘Yes’ to question 12), what is the amount of

profits that BestMed has unjustly received? ? [sic]” However, question 12 of BestMed’s




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proposed verdict form concerns the amount of damages that the jury intends to award to

Medisim on its New York unfair competition claim.



Dated: January 16, 2013                   By: /s/ Keith J. McWha

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